                             UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN


BROWN COUNTY TAXPAYERS ASSOCIATION,
                       Plaintiff(s),

                            v.                                       TELEPHONE CONFERENCE
                                                             RE: [4] Motion for Temporary Restraining Order,
                                                                  [5] Motion for Preliminary Injunction

                                                                            Case No. 22-C-1171
JOSEPH BIDEN, JR., et al.,
                                      Defendant(s).


HONORABLE WILLIAM C. GRIESBACH presiding                                             Time Called: 09:59 a.m.
Proceeding Held: October 5, 2022                                                  Time Concluded: 10:23 a.m.
Deputy Clerk: Mara                                                                          Tape: 100522

Appearances:

    Plaintiff(s):      Daniel Lennington

    Defendant(s):      Robert Charles Merritt

The Court inquires as to any time restraints.
Mr. Lennington states Defendants announced that student loan forgiveness will begin on October 17 deadline for
loan forgiveness. Mr. Lennington is requesting a TRO to put a pause on the loan forgiveness program to allow
time for the Court to rule on the motion for preliminary injunction. If the Court is not inclined to grant the motion
for TRO, Plaintiff requests the motion for preliminary injunction to also be denied to allow Plaintiff to appeal the
decision.
Mr. Merritt discusses Defendants’ position as to the student loan forgiveness program as well as similar case law.
Mr. Merritt states there is no irreparable harm present and discusses the amount of loan forgiveness.
Mr. Merritt discusses the loan cancellations based on income amount and does not believe there is a need for a
temporary restraining order or preliminary injunction. Mr. Merritt requests the Court to set a briefing schedule.
The Court inquires as to the similar cases previously mentioned by Mr. Merritt.
The Court also inquires as to the merit of Plaintiff’s claim. Mr. Lennington responds and addresses the spending
authority of the executive branch.
The Court and parties discuss what would happen if new administration were to collect the loans following the
loan forgiveness and discuss irreparable harm.

The Court will take the motion for TRO and motion for preliminary injunction under advisement.
The Court anticipates entering a decision on the motions by the end of this week or early next week.
